Case 3:24-cv-01098-ZNQ-TJB Document 79-2 Filed 03/12/24 Page 1 of 1 PageID: 1186




                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

  ANDY KIM, in his personal
  capacity as a candidate for U.S.            No. 24-cv-01098-ZNQ-TJB
  Senate, et al.,
                                              Zahid N. Quraishi, U.S.D.J.
                     Plaintiffs,              Tonianne J. Bongiovanni, U.S.M.J.

  v.

  CHRISTINE GIORDANO
  HANLON, in her capacity as
  Monmouth County Clerk, et al.,

                     Defendants.

       (PROPOSED) ORDER GRANTING LEAVE TO APPEAR AND FILE A
                      BRIEF AS AMICI CURIAE

         THIS MATTER having come before the Court upon the motion of the

 Election Law Clinic at Harvard Law School for an Order Granting Leave to

 Appear as Amicus Curiae, and all parties, by and through counsel, having received

 due notice of the motion and having the opportunity to be heard; and for good

 cause shown,

 IT IS on this ______ day of _____________, 2024, ORDERED:

 1. The Motion for Leave to File an Amici Curiae Brief is hereby GRANTED; and

 2. The proposed Amici Curiae Brief of the Election Law Clinic at Harvard Law

       School is hereby deemed FILED.



                                                   Zahid N. Quraishi, U.S.D.J.
